             Case 3:21-cv-00259-DCG-JES-JVB           Document 962-16     Filed 05/07/25    Page 1 of 2




                                                      Exhibit 16
                     Designations of Deposition Testimony of Sheila Jackson Lee (August 2, 2022)


              Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                             Objections
          7:3                     7:8
          8:1                    8:10
        18:17                    19:9
        30:11                    31:6
         31:7                    31:7
        31:10                    32:9
        33:15                   33:19
        33:21                    34:6
        34:14                    35:5
        54:13                    55:6
        76:11                   78:16
        78:18                    80:7
        82:17                   82:20
         83:2                    83:6
         84:7                   84:24
        88:13                   89:13
        88:15                   88:18
        88:20                   90:15
        110:9                  110:13
        111:7                   111:9
       111:12                  111:18
       113:12                  115:15
      134:10                    135:4
      157:16                   157:19
      157:21                   158:15
      187:12                   187:16

                                                           1
             Case 3:21-cv-00259-DCG-JES-JVB           Document 962-16   Filed 05/07/25    Page 2 of 2




              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
      187:18                   190:25
       191:8                   192:22
      194:24                   195:20
       196:8                   196:14
      196:16                   196:20
      196:22                   196:23
      196:24                    197:6
      199:14                   200:16
      200:17                   200:20
      200:22                    201:4
      203:21                   203:25
       204:2                    204:6
      204:16                    205:5
       205:6                   205:11
      205:13                   205:13
      205:14                   205:19
      205:21                   205:24
      208:13                   208:18
      208:20                    209:5
       209:6                    209:8
      209:12                   209:25
       210:1                    210:3
       210:5                    210:9
      210:19                   210:24
      210:25                    211:4
        211:9                   211:9
       211:10                  211:11
       211:13                  211:14


                                                           2
